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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 KALMAN ROSENFELD, individually and on
 behalf of all others similarly situated,

                               Plaintiff,                Case No. 1:20-cv-04662-HG-PK
          v.

 AC2T, INC., BONNER ANALYTICAL
 TESTING CO., and JEREMY HIRSCH,

                               Defendants.


                        NOTICE OF SUBSTITUTION OF COUNSEL

       PLEASE TAKE NOTICE that the undersigned has been substituted as counsel of record

for Defendant AC2T, Inc. in the above-captioned action, and hereby requests that all further papers

in this action be served on the undersigned at the address set forth below.

Dated: June 27, 2022
       New York, New York

                                              KASOWITZ BENSON TORRES LLP

                                              By: /s/ Daniel R. Benson
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                                              Incoming Attorneys for Defendant AC2T, Inc.
